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.   ..




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


         COLONY INSURANCE COMPANY                 )
                                                  )
                     Plaintiff,                   )
                                                  )
               v.                                 )
                                                  )
         SEAN LOUGHLIN, ANTONIO                   ) Case No.: 1:15-cv-03245-LMM
         GONZALEZ, KENNETH ADAMS,                 )
         AMERISAVE MORTGAGE                       )
         CORPORATION, NOVO APPRAISAL              )
         MANAGEMENT CORPORATION,                  )
         and PATRICK MARKERT,                     )
                                                  )
                     Defendants.                  )

                                      � ORDER

               Having considered Plaintiff Colony Insurance Company ("Colony") and


         Defendants Amerisave Mortgage Corp ("Amerisave") and Patrick Markert's Joint


         Motion to Drop Parties and Stipulation to Be Bound by Judgment (Doc. 23), the


         Court hereby orders as follows:


               1.    Plaintiff Colony Insurance Company ("Colony") and Defendants


         Amerisave Mortgage Corp ("Amerisave") and Patrick Markert's Joint Motion to


         Drop Parties and Stipulation to Be Bound by Judgment is GRANTED.
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       2.      Amerisave and Markert will be bound by the terms of any final


judgment issued in this action, including through any appeal, concerning the


coverage available under the insurance policy at issue in this litigation.


       3.      Amerisave and Markert have waived their rights to litigate the issue of


coverage available under the Policy, including any arguments bearing on that issue


that are or may be made in this action.


       4.      The Clerk is directed to terminate all pending deadlines as to


Amerisave and Markert and remove these defendants from rece1vmg future


electronic filings in this case.


      DONE and ORDERED, this          2,Jday ofJMU£JlWr, 2015.




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